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                                     UNITED STATE BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF INDIANA
                                          FORT WAYNE DIVISION

IN RE:                                       )
                                             )                  CASE NO. 18-10519
BETTY JO SCHAEFER                            )
                                             )
                     DEBTOR(S).              )

     MOTION FOR AUTHORITY TO SELL REAL ESTATE BY PRIVATE SALE, FREE AND
     CLEAR OF LIENS, AND TO MAKE PAYMENT OF SECURED AND ADMINISTRATIVE
                          CLAIMS AND CLOSING COSTS

          Martin E. Seifert, Trustee (“Trustee”), pursuant to 11 U.S.C. § 363, files this motion to

approve sale of real estate, free and clear of all liens, encumbrances, and interests (“Motion”).

As his Motion, the Trustee states as follows:

                                                  JURISDICTION

          1.         This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334(b) and District Court Local Rule 200.1. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N) and (O).

          2.         Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.         The basis for the relief requested is 11 U.S.C. §§ 363(b), (f) and (m), and Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                                  BACKGROUND

          4.         On March 30, 2018, the Debtor filed a Petition for Relief under Chapter 7 of the

United States Bankruptcy Code (the “Petition Date”).

          5.         On March 30, 2018, Martin E. Seifert was immediately appointed as Trustee.




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          6.         Among the assets of the estate is a parcel of real estate commonly known as

15333 Towne Gardens Ct., Huntertown, Indiana 46748 (“Real Estate”).

          7.         The Debtor scheduled the Property as having a value of $130,000.00 subject to a

mortgage in favor of Chase (the “Secured Creditor”) in the amount owed on the Petition Date of

approximately $140,000.00.

          8.         The Trustee has received and accepted an offer to purchase the Real Estate for

$133,600.00 subject to the approval of the Court. A true and accurate copy of the Purchase

Agreement and Addendums are attached as Exhibit A.

          9.         The Secured Creditor has represented and warranted that it possesses a valid,

perfected, enforceable and unavoidable mortgage lien on the Real Estate by virtue of a

promissory note and a mortgage recorded in the Office of the Recorder of Allen County, Indiana

(the “Secured Creditor Indebtedness”).

                                             RELIEF REQUESTED

          10.        The Trustee has determined that, pursuant to 11 U.S.C. §§ 704(1) and 363(b)(1),

(f) and (m), it is in the best interests of the estate to sell the Real Estate by private sale free and

clear of liens. As a material inducement to the Trustee’s decision to pursue the proposed sale,

the Secured Creditor consents to the sale of the Real Estate and the payment of a carve-out fund

(the “Carve-Out Fund”) will provide a means to pay for the costs of this case and provide a

source of funds for recovery by other creditors.




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                                             BASIS FOR RELIEF

A.        The Sale of the Real Estate Should be Approved

          11.        The Trustee seeks the Court’s authority to sell the Real Estate free and clear of all

liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and his

professionals, pursuant to the sale procedures described below.

12.                  The Trustee has entered into a Purchase Agreement for the Real Estate in the

amount of $133,600.00, which has been approved by the Secured Creditor and will result in a

carve-out for the bankruptcy estate in the amount of $7,500.00.

          13.        Accordingly, the Trustee submits that the sale of the Real Estate pursuant to the

above process is reasonable under 11 U.S.C. § 363(b).

B.        The Sale of the Real Estate Should be Approved Free and Clear of All Interests

          14.        The Trustee also seeks authority to pay the real estate brokers per the Court’s

prior order on the Application to Employ and to pay the customary costs of closing.

          15.        Attached as Exhibit B is a proposed settlement statement showing the anticipated

payments.

          16.        The Trustee respectfully requests that this Court: (a) waive the 14 day stay

pursuant to Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize

the Trustee to close on the sale immediately upon entry of the Final Sale Order; and (b) authorize

the Trustee to take all actions and execute all documents he deems reasonable, necessary and/or

desirable to effectuate the requested relief.




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                                                   CONCLUSION

          WHEREFORE, the Trustee respectfully requests that the Court enter an Order

approving the sale of the Real Estate pursuant to 11 U.S.C. § 363, and for such other and further

relief as this Court deems proper in the premises.

          Dated: May 15, 2019
                                                                Respectfully submitted,

                                                                CHAPTER 7 TRUSTEE
                                                                444 EAST MAIN STREET
                                                                FORT WAYNE, INDIANA 46802
                                                                TELEPHONE: (260) 426-0444
                                                                FAX: (260) 422-0274
                                                                EMAIL: mseifert@hallercolvin.com

                                                                BY: /s/ Martin E. Seifert
                                                                   MARTIN E. SEIFERT
                                                                   I.D. #16857-02


                                             CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and exact copy of the above and foregoing
Motion for Authority to Sell Real Estate by Private Sale, Free and Clear of Liens, and to Make
Payment of Secured and Administrative Claims and Closing Costs has been sent electronically
by the Court’s electronic filing service or by first class United States mail, postage prepaid, this
15th day of May, 2019, to:

          Steven J. Glaser, Esq.                          United States Trustee
          Glaser & Ebbs                                   555 One Michiana Square
          132 E. Berry Street                             100 East Wayne Street
          Fort Wayne, IN 46802                            South Bend, Indiana 46601


                                                                /s/ Martin E. Seifert
                                                                MARTIN E. SEIFERT




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          Listing Broker (Co.) Coldwell Banker The Real Estate Group                    (UPRWGR06            ) By Duane Wilder                                (UP388045800 )
                                                                                             Office code                                                       individual code
          Selling Broker (Co.) PUMPKIN VINE REALTY, INC                                 (._N_E1_69_8_~) By DINAH WARD LYNCH                                   (NE1699
     Pt,,..-:itdt.1•~.~l;d1                                                                  Office code                                                       Individual code
          INDIANA
          ASSOCIATION Of
          REALTOllS~!NC.                                              PURCHASE AGREEMENT
                                                                           (IMPROVED PROPERTY)
 1        Date: December 21, 2018
 2
 3        A.     BUYER:                                         JORDAN ALDRICH                                                    ("Buyer")
 4               agrees to buy the following property from the owner ("Seller'') for the consideration and subject to the following terms,
 5               provisions, and conditions:
 6
 7        B.    PROPERTY: The property ("Property") is known as                  15333 Towne Gardens ct
 8              in          Perry              Township,           Allen County       County,        Huntertown
 9              Indiana,     46748         (zip code) legally described as: TOWNE SQUARE SEC Ill LOT 94
10
11              together with any existing permanent improvements and fixtures attached (unless leased or excluded), including, but
12              not limited to, electrical and/or gas fixtures, heating and central air-conditioning equipment and all attachments thereto,
13              built-in kitchen equipment, sump pumps, water softener, water purifier, gas grills, fireplace inserts, gas logs and grates,
14              central vacuum equipment, window shades/blinds, curtain rods, drapery poles and fixtures, ceiling fans and light
15              fixtures, towel racks and bars, storm doors, windows, awnings, TV antennas, wall mounts, satellite dishes, storage
16              barns, all landscaping, mailbox, garage door opener(s) with control(s) AND THE FOLLOWING: ~RA~N'-CG'--"E='-----
17              DISHWASHER, CENTRAL AIR, WATER HEATER, GFA FURNACE
18
19              EXCLUDES THE FOLLOWING: PERSONAL PROPERTY OF SELLER
20
21              HOME HEATING FUEL: Any remaining fuel stored in tank(s)                                    D
                                                                                     to be included in the sale  will be purchased by                    D
22              Buyer at current market price measured within five (5) days prior to closing Ix] not applicable.
23              The terms of this Agreement will determine what items are included/excluded, lli21 the Seller's Disclosure Form,
24              multiple listing service or other promotional materials. All items sold shall be fully paid for by Seller at time of
25              closing the transaction. Buyer should verify total square footage, land, room dimensions or community amenities
26              if material.
27
28 C.           PRICE: Buyer will pay the total purchase price of($ 130,000.00             ) One Hundred Thirty Thousand
29              _ _ _ _ _ _ _ _ _ _ _ _ Dollars for the Property. If Buyer obtains an appraisal of the Property, this
30              Agreement is contingent upon the Property appraising at no less than the agreed upon purchase price. If appraised
31              value is less than the agreed upon purchase price, either party may terminate this Agreement or parties may mutually
32              agree to amend the price.
33
34 D.           EARNEST MONEY:
35              1. Submission: Buyer submits$ 1 300.00                                        as earnest money which shall be applied to the
36                 purchase price at closing. If not submitted with Purchase Agreement, Earnest money shall be delivered to Escrow
37                 Agent within              2              D hours Ix] days of acceptance of offer to purchase. Unless indicated
38                 otherwise in this Agreement, the listing broker shall act as Escrow Agent and shall, after acceptance of the Agreement
39                 and within two (2) banking days of receipt of the earnest money, deposit the earnest money into its escrow
40                 account and hold it until time of closing the transaction or termination of this Agreement. Earnest money shall be
41                 returned promptly to Buyer in the event this offer is not accepted. If Buyer fails for any reason to timely submit Earnest
42                 Money in the contracted amount, Seller may terminate this Agreement upon notice to Buyer prior to Escrow Agent's
43                 receipt of the Earnest Money.
44              2. Disbursement: Upon notification that Buyer or Seller intends not to perform, and if Escrow Agent is the Broker,
45                 then Broker holding the Earnest Money may release the Earnest Money as provided in this Agreement. If no
46                 provision is made in this Agreement, Broker may send to Buyer and Seller notice of the disbursement by certified
47                 mail of the intended payee of the Earnest Money as permitted in 876 IAC 8-2-2. If neither Buyer nor Seller enters
48                 into a mutual release or initiates litigation within sixty (60) days of the malling date of the certified letter, Broker may
49                 release the Earnest Money to the party identified in the certified letter. If the Escrow Agent is the Broker, Broker
50                 shall be absolved from any responsibility to make payment to Seller or Buyer unless the parties enter into a Mutual
51                 Release or a Court issues an Order for payment, except as permitted in 876 IAC 8-2-2 (release of earnest money).
52                 Buyer and Seller agree to hold the Broker harmless from any liability, including attorney's fees and costs, for good
53                 faith disbursement of Earnest Money in accordance with this Agreement and licensing regulations
                                             15333 Towne Gardens ct, Huntertown, IN 46748
                                                                                   (Property Address)
                                                                    Page 1 of 8         (Purchase Agreement)
                                                                                 Copyright IAR 2018
 PU!'dPKIN VINE REALTY, INC., 217 CR 17, Suite 4 Elkhnrt IN 46516                                                     Phone: 5743331960           Fax:                 ALDRICH


                                                                                                                                                         Exhibit A
 Dlnnh Wnrd Lynch                         Produced wilh zlpForrn® by ziplogix 18070 Fifteen Mlle Road, Fraser, Michigan 48026 )WIW,ZjpLogjx,com
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 54      3.   Legal Remedies/Default: If this offer is accepted and Buyer fails or refuses to close the transaction, without
 55           legal cause, the earnest money shall be retained by Seller for damages Seller has or will incur. Seller retains all
 56           rights to seek other legal and equitable remedies, which may include specific performance and additional monetary
 57           damages. All parties have the legal duty to use good faith and due diligence in completing the terms and
 58           conditions of this Agreement. A material failure to perform any obligation under this Agreement is a default which
 59           may subject the defaulting party to liability for damages and/or other legal remedies, which, as stated above, may
 60           include specific performance and monetary damages in addition to loss of Earnest Money.
 61 E.        METHOD OF PAYMENT: (Check appropriate paragraph number)
 62           1. D CASH: The entire purchase e_r!ce shall be paid in cash and no financing is required. Buyer to provide proof
 63                of funds submitted D with offer LJ within -----,......-c,...,.. days of acceptance.
 64           2. Ix] NEW MORTGAGE: Completion of this transaction shall be contingent upon the Buyer's ability to obtain a
 65
 66               0 Conventional       [xj Insured Conventional      FHA OVA    O                       O
                                                                                      Other: _ _ _ _ _ _ _ _ _ _ _ first
 67               mortgage loan for          95.000    % of purchase price, payable in not less than        years, with an
 68               original rate of interest not to exceed _ _ _ _ _ _ % per annum and not to exceed          points. Buyer
 69               shall pay all costs of obtaining financing, except _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 70
 71               Any Inspections and charges which are required to be made and charged to Buyer or Seller by the lender,
 72               FHA, VA, or mortgage insurer, shall be made and charged In accordance with their prevailing rules or
 73               regulations and shall supersede any provisions of this Agreement.                               ·
 74
 75
 76
 77
         3.
         4.
         5.
              §   ASSUMPTION: ( Attach Financing Addendum)
                  CONDITIONAL SALES CONTRACT: (Attach Financing Addendum)
                  OTHER METHOD OF PAYMENT: (Attach Financing Addendum)
 78
 79 F.   TIME FOR OBTAINING FINANCING:
 80      1. Application: Within           5      days after the acceptance of this Agreement, Buyer agrees to make written
 81             application for any financing necessary, to complete this transaction or for approval to assume the unpaid balance
 82             of the existing mortgage and to make a diligent effort to meet the lender's requirements and to obtain financing in
 83             cooperation with the Broker and Seller. Buyer Authorizes lender to order appraisal immediately.
 84      2. Approval: No more than           120    days after acceptance of this Agreement shall be allowed for obtaining loan
 85             approval or mortgage assumption approval. If an approval is not obtained within the time specified above, this
 86             Agreement may terminate unless an extension of time for this purpose Is mutually agreed to in writing.
 87
 88 G.   CLOSING:
 89      1. DA TE: The closing of the sale (the "Closing Date") shall be on or before                   May 3, 2019                 , or
 90         within         5      days after LENDER CLEAR TO CLOSE                            , whichever is later or this Agreement
 91         shall terminate unless an extension of time is mutually agreed to in writing. Any closing date earlier than the latest
 92         date above must be by mutual written agreement of the parties.
 93      2. FEE: The settlement or closing fee incurred in conducting the settlement charged by the closing agent or company
 94                           O
            shall be paid by Buyer (included in allowance, if provided)                             D
                                                                                   Seller Ix] Shared equally.
 95      3. CONTINGENCY: This Agreement:
 96             [x] is not contingent upon the closing of another transaction;
 97             D Is contingent upon the closing of the pending transaction on Buyer's property located at _ _ _ _ _ __
 98             .........--------------------scheduled to close by _ _ _ _ _ _ _ __
 99              D  is contingent upon the acceptance of a Purchase Agreement on Buyer's property:
100
101
102
                      •D Addendum to Purchase Agreement First Right Contingency. See attached Addendum.
                         Addendum to Purchase Agreement Limited Purchase Contingency Right. See attached Addendum.
         4. GOOD FUNDS: Notwithstanding terms to the contrary, the Parties agree that as a condition to Closing, all
103         funds delivered to the closing agent's escrow account be In such form that the closing agent shall be able to disburse in
104         compliance with I.C. 27-07-3.7 et. seq. Therefore, all funds from a single source of $10,000 or more shall be wired
105         unconditionally to the closing agent's escrow account and all funds under $10,000 from a single source shall be good
106         funds as so defined by statute, Buyer Is advised that the cost Incurred to wire funds on behalf of the buyer to the closing
107         agent's escrow account for the closing of this transaction shall become an expense to the buyer and the actual cost
108         Incurred shall appear on the closing statement.
109      5. WIRE FRAUD. If you receive any electronic communication directing you to transfer funds or provide
11 o        nonpublic personal Information, EVEN IF THAT ELECTRONIC COMMUNICATION APPEARS To' BE FROM
111         BROKER OR TITLE COMPANY, do not respond until you verify the authenticity by direct communication with
112         Broker or Title Company. Do not rely on telephone numbers provided In the electronic communication. Such
113         requests may be part of a scheme to steal funds or use your Identity.

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                                                                  (Property Address)
                                                       Page 2 of 8    (Purchase Agreement)
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114     H.     POSSESSION:
115            1. The possession of the Property shall be delivered to Buyer Ix] at closing D within _ _ _ _ _ days beginning
116               the day after closing by _ _ _              a.m.  D  p.m.      D
                                                                                noon or       D                  Don
                                                                                                or before _ _ _ _ _ _ _ _ _ if
117               closed. For each day Seller is entitled to possession after closing, Seller shall pay to Buyer at closing $
118               _ _ _ _ _ per day. If Seller does not deliver possession by the date and time required in the first sentence of
119               this paragraph, Seller shall pay Buyer $ _ _ _ _ _ _ per day as liquidated damages until possession is
120               delivered to Buyer; and Buyer shall have all other legal and equitable remedies available against the Seller.
121            2. Maintenance of Property: Seller shall maintain the Property in its present condition until its possession is
122               delivered to Buyer, subject to repairs in response to any inspection. Buyer may inspect the Property prior to closing
123               to determine whether Seller has complied with this paragraph. Seller shall remove all debris and personal property not
124               included in the sale.
125            3. Casualty Loss: Risk of loss by damage or destruction to the Property prior to the closing shall be borne
126               by Seller, including any deductible(s). In the event any damage or destruction is not fully repaired prior to closing,
127               Buyer, at Buyer's option, may either (a) terminate this Agreement with prompt return of earnest money to
128               buyer or (b) elect to close the transaction, in which event Seller's right to all real property insurance proceeds
129               resulting from such damage or destruction shall be assigned in writing by Seller to Buyer.
130            4. Utilities/Municipal Setvices: Seller shall pay for all municipal services and public utility charges through the day of
131               possession.
132
133     I.     SURVEY: Buyer shall receive a (Check one)                  0
                                                                    SURVEYOR LOCATION REPORT, which is a survey where corner
134            markers are not set; Ix] BOUNDARY SURVEY, which. is a survey where corner markers of the Property are set prior to
135            closing; D WAIVED, no survey unless required by lender; at (Check one) Ix] Buyer's expense (included in
136
137
         ffo'l allowance, if provided)     • Seller's expense D Shared equally. The survey shall (1) be received prior to closing and
               certified as of a current date, (2) be reasonably satisfactory to Buyer, (3) show the location of all improvements and
138            easements, and (4) show the flood zone designation of the Property. If Buyer waives the right to conduct a survey, the
139            Seller, the Listing and Selling Brokers, and all licensees associated with Brokers are released from any and all liability
140            relating to any issues that could have been discovered by a survey. This release shall survive the closing.
141
142    J.      FLOOD AREA/OTHER: If the property is located in a flood plain, Buyer may be required to carry flood insurance at
143            Buyer's expense. Revised flood maps and changes to Federal law may substantially increase future flood insurance
144            premiums or require insurance for formerly exempt properties. Buyer should consult with one or more flood insurance
145            agents regarding the need for flood insurance and posslbl~remium increases. Buyer Ix] may D may not terminate this
146            Agreement if the Property requires flood insurance. Buyer IX] may D may not terminate this Agreement If the Property is
147            subject to building or use limitations by reason of the location, which materially interfere with Buyer's intended use of
148            the Property.
149
150    K.      HOMEOWNER'S INSURANCE: Completion of this transaction shall be contingent upon the Buyer's ability to
151            obtain a favorable written commitment for homeowner's insurance within 120    days after acceptance
152            of this Agreement.
153
154    L.      ENVIRONMENTAL CONTAMINANTS ADVISORY/RELEASE: Buyer and Seller acknowledge that Listing Broker,
155            Selling Broker and all licensees associated with Brokers are NOT experts and have NO special training, knowledge or
156            experience with regard to the evaluation or existence of possible lead-based paint, radon, mold and other biological
157            contaminants ("Environmental Contaminants") which might exist and affect the Property. Environmental Contaminants
158            at harmful levels may cause property damage and serious illness, including but not limited to, allergic and/or respiratory
159            problems, particularly in persons with Immune system problems, young children and/or the elderly.
160
161            Buyer is STRONGLY ADVISED to obtain inspections (see below) to fully determine the condition of the Property and its
162            environmental status. The ONLY way to determine if Environmental Contaminants are present at the Property at

~ ~l
               harmful levels is through inspections.
       ffo'l
165            Buyer and Seller agree to consult with appropriate experts and accept all risks for Environmental
166            Contaminants and release and hold harmless all Brokers, their companies and licensees from any and all
167            liablllty, Including attorney's fees and costs, arising out of or related to any Inspection, Inspection result,
168            repair, disclosed defect or deficiency affecting the Property, Including Environmental Contaminants. This
169            release shall survive the closing.
170
171 M.         INSPECTIONS: (Check appropriate paragraph number)
172
173            Buyer has been made aware that lndeperident inspections disclosing the condition of the property are available and has
174            been afforded the opportunity to require such inspections as a condition of this Agreement.
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                                                                      (Property Address)
                                                           Page 3 of 8 (Purchase Agreement)                                                   ffo'l
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175      1.   0     BUYER WAIVES THE RIGHT TO HAVE INDEPENDENT INSPECTIONS
176                 Buyer WAIVES inspections and relies upon the condition of the Property based upon Buyer's own examination
177                 and releases the Seller, the Listing and Selling Brokers and all licensees associated with Brokers from any and
178                 all liability relating to any defect or deficiency affecting the Property, which release shall survive the closing.
179                 Required FHANA or lender inspections are not included in this waiver.
180
181      2.   Ix]   BUYER RESERVES THE RIGHT TO HAVE INDEPENDENT INSPECTIONS (including Lead-Based Paint)
182                 Buyer reserves the right to have independent inspections in addition to any inspection required by FHA, VA, or
183                 Buyer's lender(s). All inspections are at Buyer's expense (unless noted otherwise or required by lender) by
184                 licensed independent inspectors or qualified independent contractors selected by Buyer within the following
185                 time periods. Seller shall have water, gas, electricity and all operable pilot lights on for Buyer's inspections.
186                 Seller must make all areas of the Property available and accessible for Buyer's inspection.
187
188
189                 INSPECTION/RESPONSE PERIOD: Buyer shall order all independent inspections after acceptance of the
190                 Purchase Agreement. Buyer shall have       10        days beginning the day following the date of acceptance
191                 of the Purchase Agreement to respond to the inspection report(s) in writing to Seller (see "Buyer's Inspection
192                 Response").
193
194                 Inspections may include but are not limited to the condition of the following systems and components: heating,
195                 cooling, electrical, plumbing, roof, walls, ceilings, floors, foundation, basement, crawl space, well/septic, water,
196                 wood destroying insects and organisms, lead-based paint (note: intact lead-based paint that Is in good
197                 condition Is not necessarily a hazard), radon, mold and other biological contaminants and/or the following:
198                    ANY DEEMED NECESSARY BY BUYER, RESPONSE TIME EXCLUDES ANY LENDER OR REGIONAL REQUIREMENTS.         If the INITIAL
199                 inspection report reveals the presence of lead-based paint, radon, mold and other biological contaminants, or
200                 any other condition that requires further examination or testing, then Buyer shall notify Seller and have
201                       1o    additional days from the deadline listed above to order, receive and respond in writing to
202                 all inspection reports.
203
204                 If the Buyer does not comply with any Inspection/Response Period or make a written objection to any
205                 problem revealed in a report within the applicable Inspection/Response Period, the Property shall be
206                 deemed to be acceptable. If one party fails to respond or request in writing an extension of time to respond
207                 to the other party's Independent Inspection Response, then that inspection response Is accepted. A timely
208                 request for extension is not an acceptance of the inspection response, whether or not granted. A REASONABLE
209                 TIME PERIOD TO RESPOND IS REQUIRED TO PREVENT MISUSE OF THIS ACCEPTANCE PROVISION.
210                 Factors considered in determining reasonable time periods include, but are not limited to, availability of responding
211                 party to respond, type and expense of repairs requested and need of responding party to obtain additional opinions
212                 to formulate a response.
213
214                 If Buyer reasonably believes that the Inspection Report reveals a DEFECT with the Property (under Indiana law,
215                 "Defect" means a condition that would have a significant adverse effect on the value of the Property, that
216                 would significantly impair the health or safety of future occupants of the Property, or that if not repaired,
217                 removed, or replaced would significantly shorten or adversely affect the expected normal life of the
218                 premises), and after having given Seller the opportunity to remedy the defect Seller is unable or unwilling to remedy
219                 the defect to Buyer's reasonable satisfaction before closing (or at a time otherwise agreed to by the parties), then
220                 Buyer may terminate this Agreement or waive such defect and the transaction shall proceed toward closing. BUYER
221                 AGREES THAT ANY PROPERTY DEFECT PREVIOUSLY DISCLOSED BY SELLER, OR ROUTINE
222                 MAINTENANCE AND MINOR REPAIR ITEMS MENTIONED IN ANY REPORT, SHALL NOT BE A BASIS FOR
223                 TERMINATION OF THIS AGREEMENT.
224
225      3.   0     PROPERTY IS SOLD "AS IS". See attached Addendum.
226
227 N.   LIMITED HOME WARRANTY PROGRAM:
228      Buyer acknowledges the availabllity of a LIMITED HOME WARRANTY PROGRAM with a deductible paid ~ Buyer
229      which    Dwlll  Ix!
                          will not b~rovided at a cost not to exceed $ _ _ _ _ _ _ _ _ charged to             Buyer LJ Seller               D
230      and ordered by        O
                             Buyer LJ Seller.. Buyer and Seller acknowledge this LIMITED HOME WARRANTY PROGRAM may
231      not cover any pre-existing defects in the Property nor replace the need for an Independent home inspection. Broker
232      may receive a fee from the home warranty provider and/or a member benefit. The Limited Home Warranty Program Is a
233      contract between Buyer/Seller and the Home Warranty Provider. The Parties agree that Brokers and their companies
234      shall be released and held harmless In the event of claims disputes with the Home Warranty Provider.
235
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                                                                        (Property Address)
                                                             Page 4 of 8 (Purchase Agreement)
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236   0.       DISCLOSURES: (Check one)
237                        O                                       O
               1. Buyer has IR] has not not applicable received and executed SELLER'S RESIDENTIAL REAL ESTATE
238                   SALES DISCLOSURE.
239   !Jt:A,   2.     Buyer O has IR] has not O not applicable received and executed a LEAD-BASED PAINT CERTIFICATION
240                   AND ACKNOWLEDGEMENT.
241
242   P.       TITLE APPROVAL: Prior to closing, Buyer shall be furnished with              IRJ a title insurance commitment for the
243            most current and comprehensive ALTA Owner's Title Insurance Policy available in the amount of the purchase price or
244            Dan abstract of title continued to date, showing marketable title to Property in Seller's name. Seller must convey title free
245            and clear of any encumbrances and title defects, with the exception of any mortgage assumed by Buyer and any restrictions
246            or easements of record not materially interfering with Buyer's intended use of the Property. A title company, at Buyer's
247            request, can provide information about availability of various additional title insurance coverages and endorsements and the associated
248            costs.
249
250            Owner's Title Insurance Premium and that portion of Title Service Fees incurred to prepare the Owner's Policy
251            (including title search and examination and commitment preparation), to be paid by D Buyer (included in allowance,
252            if provided) IRJ Seller      O
                                          Shared equally.
253
254            Lender's Title Insurance Premium and that portion of Title Service Fees incurred to prepare the Lender's Policy
255            (including title search and examination and commitment preparation), if applicable, to be paid by IR] Buyer (included in
256            allowance, if provided) D Seller D Shared equally D Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
257
258
259            The parties agree that IRJ Seller D Buyer will select a title insurance company to issue a title insurance policy and will
260            order the commitment ~ immediately or D other: _ _ _ _·_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
261
262
263            Pursuant to Federal and State Law, Seller cannot make Seller's selection of a title insurance provider a condition of this
264            Agreement.
265
266            Seller agrees to pay the cost of obtaining all other documents necessary to perfect title (including the cost of the deed
267            and vendor's affidavit), so that marketable title can be conveyed.
268
269   Q,       TAXES: (Check appropriate paragraph number)                                                                                                                                                                         ·
270            D 1.      Buyer will assume and pay all taxes on the Property beginning with the taxes due and payable
271                      on _ _ _ _ _ _ _ _ _ _ _ , _ _ _ _ , and all taxes due thereafter. At or before closing, Seller
272                      shall pay all taxes for the Property payable before that date.
273            ~ 2.      All taxes that have accrued for any prior calendar year that remain unpaid shall be paid by Seller
274                      either to the County Treasurer and/or the Buyer in the form of a credit at closing. All taxes that have accrued
275                      for the current calendar year shall be prorated on a calendar-year basis as of the day immediately prior to the
276   !Jt:A,             Closing Date.
277
278            For purposes of paragraph 1 and 2: For the purpose of determining the credit amount for accrued but unpaid
279            taxes, taxes shall be assumed to be the same as the most recent year when taxes were billed based upon certified tax
280            rates. This shall be a final settlement.
281
282            03, FOR RECENT CONSTRUCTION OR OTHER TAX SITUATIONS. Seller will give a tax credit of
283            $ _ _ _ _ _ _ _ to Buyer at closing. This shall be a final settlement.
284
285 WARNING: THE SUCCEEDING YEAR TAX BILL FOR RECENTLY CONSTRUCTED HOMES OR FOLLOWING
286 REASSESSMENT PERIODS MAY GREATLY EXCEED THE LAST TAX BILL AVAILABLE TO THE CLOSING AGENT.
287
288   Buyer acknowledges Seller's tax exemptions and/or credits may not be reflected on future tax bills.
289
290 Buyer may apply for current-year exemptions/credits at or after closing.
291      '                                                             '
292 R. PRORATIONS AND SPECIAL ASSESSMENTS: Insurance, if assigned to Buyer, interest on any debt assumed or
293     taken subject to, any rents, all other Income and ordinary operating expenses of the Property, Including but not limited
294     to, public utility charges, shall be prorated as of the day immediately prior to the Closing Date. Seller shall pay any
295     special assessments applicable to the Property for municipal Improvements previously made to benefit the Property.
296            Seller warrants that Seller has no knowledge of any planned Improvements which may result in assessments and that
297            no governmental or private agency has served notice requiring repairs, alterations or corrections of any existing
298            conditions. Public or municipal Improvements which are not completed as of the date above but which will result in a
                                              15333 Towne Gardens ct, Huntertown, IN 46748
                                                                                                 (Property Address)
                                                                                      Page 5 of 8 (Purchase Agreement)
                                                                                                        COPYRIGHT IAR 2018
                                    n,. ... ,.1,, .. -.J,.,:n..   -1-r:---""' i..,,-1 ... 1 __ , ..   .tan"1n r:-1.n .... -1A11 ... n ..... .., r.-...... _.   1.,i .. 1..1---   Aan.,i,,   , ........... 1.. 1 ..... 1., .... _
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299        lien or charge shall be paid by Buyer. Buyer will assume and pay all special assessments for municipal improvements
300        completed after the date of this Agreement.
301
302 s.     TIME: Time is of the essence. Time periods specified In this Agreement and any subsequent Addenda to the
303        Purchase Agreement are calendar days and shall expire at 11 :59 PM of the date stated unless the parties agree In
304        writing to a different date and/or time.
305
306        Note: Seller and Buyer have the right to withdraw any offer/counter offer prior to written acceptance and
307        delivery of such offer/counter offer.
308
309 T.     HOMEOWNERS ASSOCIATION/CONDOMINIUM ASSOCIATION ("Association"): Documents for a
310        mandatory membership association shall be delivered by the Seller to Buyer within          NA      days after acceptance
311        of this Agreement, but not later than 10 days prior to closing pursuant to I.C. 32-21-5-8.5. Brokers are not responsible
312        for obtaining or verifying this Information. If the Buyer does not make a written response to the documents within
313            NA     days after receipt, the documents shall be deemed acceptable. In the event the Buyer does not accept the
314        provisions in the documents and such provisions cannot be waived, this Agreement may be terminated by the Buyer
315        and the earnest money deposit shall be refunded to Buyer promptly. Any approval of sale required by the Association
316        shall be obtained by the Seller, In writing, within  NA     days after Buyer's approval of the documents. Fees charged
317        by the "Association", or its management company, for purposes of verification of good standing and/or transfer of
318        ownership shall be shared equally by Buyer and Seller. Start-up or one time reserve fees, If any, shall be paid by Buyer.
319
320        Buyer acknowledges that in every nelghbomood there are conditions which others may find objectionable; Buyer shall
321        therefore be responsible to become fully acquainted with neighborhood and other off-site conditions that could affect the
322        Property.
323
324   u.   ATTORNEY'S FEES: Any party to this Agreement who Is the prevailing party In any legal or equitable
325        proceeding against any other party brought under or with relation to the Agreement or transaction shall be additionally
326        entitled to recover court costs and reasonable attorney's fees from the non-prevailing party.
327
328 V.     ADDITIONAL PROVISIONS:
329
330        1.   Unless otherwise provided, any prorations for rent,                taxes,     insurance,  damage deposits,
331             association dues/assessments, or any other items shall be computed as of the day Immediately prior to the Closing
332             Date.
333
334        2.   Underground mining has occurred in Indiana, and Buyers are advised of the availability of subsidence
335             insurance. Broker is not responsible for providing or verifying this information.
336
337        3.   The Indiana State Police has created a registry of known meth contaminated properties which can be
338             found at www.in.gov/meth. Click on "Clan Lab Addresses." Broker is not responsible for providing or verifying this
339             Information.
340
341        4.   The Indiana Sheriff's Sex Offender Registry (www.indianasheriffs.org) exists ta inform the public about
342             the identity, location and appearance of sex offenders residing within Indiana. Broker Is not responsible for
343             providing or verifying this information.
344
345        5.   Conveyance     of     this    Property     shall be by   general  Warranty      Deed,  or                                           by
346             AS PER TC, AND ACCEPTED BY BUYER/LENDER subject to taxes, easements, restrictive covenants                                         and
347             encumbrances of record, unless otherwise agreed.
348
349        6.   If it is determined Seller is a "foreign person" subject to the Foreign Investment in Real Property Tax Act,
350             Seller will pay applicable tax obligation.
351                                   '                                          .                                             '
352        7.   Any notice required or permitted to be delivered shall be deemed received when personally delivered, transmitted
353             electronically or digitally or sent by express courier or United States mall, postage prepaid, certified and return
354             receipt requested, addressed to Seller or Buyer or the designated agent of either party.
355
356        8.   This Agreement shall be construed under and in accordance with the laws of the State of Indiana and is
357             binding upon the parties' respective heirs, executors, administrators, legal representatives, successors, and assigns.
                                           15333 Towne Gardens ct, Huntertown, IN 46748
                                                                        (Property Address)
                                                         Page 6 of S (Purchase Agreement)
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 358       9.   In case any provision contained in this Agreement is held invalid, illegal, or unenforceable in any respect,
359             the invalidity, illegality, or unenforceability shall not affect any other provision of this Agreement.
360
361        10. This Agreement constitutes the sole and only agreement of the parties and supersedes any prior understandings or
362            written or oral agreements between the parties' respecting the transaction and cannot be changed except by their
363            written consent.
364
365        11. All rights, duties and obligations of the parties shall survive the passing of title to, or an interest in, the
366            Property.
367
368        12. Broker(s) may refer Buyer or Seller to other professionals, service providers or product vendors, including lenders,
369            loan brokers, title insurers, escrow companies, inspectors, pest control companies, contractors and home warranty
370            companies. Broker(s) does not guarantee the performance of any service provider. Buyer and Seller are free to select
371            providers other than those referred or recommended to them by Broker(s). The Parties agree that Brokers and their
372            companies shall be released and held harmless in the event of claims disputes with any service provider.
373
374        13. By signing below, the parties to this transaction acknowledge: 1) receipt of a copy of this Agreement; and 2)
375            information regarding this transaction may be published in a listing service, Internet or other advertising media.
376
377        14. Any amounts payable by one party to the other, or by one party on behalf of the other party, shall not be owed
378            until this. transaction is closed.
379
380        15. Buyer and Seller consent to receive communications from Broker(s) via telephone, U.S. mail, email, text message
381            and facsimile at the numbers/addresses provided to Broker(s) unless Buyer and Seller notify Broker(s) in writing to the
382            contrary.
383
384        16. Buyer discloses to Seller that Buyer holds Indiana Real Estate License# -'-'N'-"'0-'-T-'-A~P---"P--=L=-IC"""'A'--'=B=L=E_ _ _ _ _ __
385
386 17.    Where the word "Broker" appears, it shall mean "Licensee" as provided in I.C.25-34.1-10-6.8.
387
388 w.     FURTHER CONDITIONS (List and attach any addenda): 1. UTILITIES & HEAT ARE TO REMAIN ON OR
389        PROPERTY IS TO BE WINTERIZED IN A TIMELY MANNER TO PROTECT FROM DAMAGE. 2. AT CLOSING
390        PROPERTY IS TO BE IN SIMILAR CONDITION AS WHEN BUYER INITIALLY TOURED PROPERTY. 3. BUYER
391        MAY WITHDRAW OFFER AND RECEIVE FULL REFUND OF ALL DOWN PAYMENTS SHOULD THE PROPERTY
392        BECOME DAMAGED, VANDALIZED OR NEGATIVELY IMPACTED. 4. BUYER IS RESPONSIBLE FOR VERIFYING
393 !Joi   AND OBTAINING HOA INFORMATION. 5. THE 10 DAY INSPECTION TIME PERIOD SHALL COMMENCE UPON
394        BUYERS NOTIFICATION OF SHORT SALE APPROVAL, NOT INITIAL ACCEPTANCE OF OFFER. 6. THERE ARE
395        NO BANKRUPTCY ESTATE FEES OR ANY OTHER SELLER FEES DUE FROM BORROWER IN ADDITION TO
396        THE PURCHASE PRICE. 7. EARNEST MONEY WILL BE WIRED FROM BUYER TO ESCROW AGENT WITHIN 2
397        BUSINESS DAYS OF NOTIFICATION OF OFFER ACCEPTANCE.
398
399 X.     CONSULT YOUR ADVISORS: Buyer and Seller acknowledge they have been advised that. prior to signing this
400        document, they may seek the advice of an attorney for the legal or tax consequences of this document and the transaction
401        to which it relates. In any real estate transaction, it is recommended that you consult with a professional, such as a civil
402        engineer, environmental engineer, or other person, with experience in evaluating the condition of the Property.
403
404 Y.     ACKNOWLEDGEMENTS: This                D  is Ix] is not a limited agency transaction. Buyer and Seller acknowledge that
405        each has received agency office policy disclosures, has had agency explained, and now confirms all agency relationships.
406        Buyer and Seller further acknowledge that they understand and accept agency relationships involved in this transaction. By
407        signature below, the parties verify that they understand and approve this Purchase Agreement and acknowledge receipt of a
408        signed copy.
409
410 z.     EXPIRATION OF OFFER: Unless accepted in writing by Sellerand delivered to Buyer by             6:·oo
411        D A.M. Ix] P.M. D Noon, on          January 18, 2019                 . , this Purchase Agreement shall be null
412        and void and all parties shall be relieved of any and all liability or obligations.                                       ·
413
414        This Agreement/contract together with any and all subsequent forms, amendments and addenda niay be executed
415        simultaneously or in two or more counterparts, each of which shall be deemed an original but all of which together shall
416        constitute one and the same instrument. The parties agree that this Agreement, together with any and all subsequent
417        forms, amendments and addenda may be transmitted between them electronically or digitally. The parties intend that
418        electronically or digitally transmitted signatures constitute original signatures and are binding on the parties. The
419        original documents shall be promptly delivered, if requested.
                                            15333 Towne Gardens ct, Huntertown, IN 46748
                                                                 (Property Address)
                                                      Page 7 of 8    (Purchase Agreement)
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                                                       ,tJ       01/03/2019 13:46:48

421   BUYERS SIGNATURE                                                            DATE               BUYER'S SIGNATURE                                     DATE
422
423   JORDAN ALDRICH
424   PRINTED                                                                                        PRINTED
425
426   AA. SELLER'S RESPONSE: (Check appropriate paragraph number):
427
428
429
      On
               ----------------
                                                                                 , at
                                                                                        ------
                                                                                                              OA.M. 0 P.M. 0 Noon
430   0 1.     The above offer is Accepted.
431
432   D 2.     The above offer is Rejected.
433
434   D 3.     The above offer is Countered. See Counter Offer. Seller should sign both the Purchase Agreement and the Counter
435            Offer.
436
437

1~~ -~;✓.~0k                                                              '-/ jeu,, dfJ Ir;_·- - - - - - - - - -
440 S ~ S I G ~                                                                   DATE               SELLER'S SIGNATURE                                    DATE

11d   Mfkc:k'~             ~S-~~±-;rc~Jee-
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                   Prepared and provided as a member service by the Indiana Association of REAL TORS®, Inc. (IAR) This form is
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                       restricted to use by members of IAR. This is a legally bindin~ contract, if not understood seek legal advice,
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                                                       15333 Towne Gardens ct, Huntertown, IN 46748
                                                                              (Property Address)
                                                                   Page 8 of 8    (Purchase Agreement)
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              INDIANA
              ASSOCIATION OF
              REALTORS~ 1Nc.
                                              AMENDMENT # - -1- - TO PURCHASE AGREEMENT
                                               For use only by members of the Indiana Association of REAL TORS®

 1         Date: March 4, 2019

 2         This Amendment is attached to and made a part of Purchase Agreement dated                                                      December 21, 2018
 3         on property known as                                                             15333 Towne Gardens ct
 4                                                                           Huntertown                                                                   , Indiana,
 5         Zip _ _4-'-"6--'-74-'-'8'---_ (the "Property").
 6         It is mutually agreed to amend Purchase Agreement as follows: (check appropriate paragraph letter)
 7         DA.              The time for making application(s) for financing necessary to complete the transaction, or approval of
 8                          mortgage assumption, is extended to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 9        • B.              The time for obtaining favorable commitment(s) for financing necessary to complete the transaction, or
                            approval of mortgage assumption, is extended to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
10
11        oc.               The time for dosing the transaction is extended to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
12        • D.             The time that Seller may retain possession of the Property is changed to
                                                                                                                               ------------
13

14        • E.             The time for making .any responses to inspections
                                                                           .
                                                                             is extended t o - - - - ,. - - - - - - - - - - - , - - - -
15        OF.              The time for delivering homeowner association/condominium documents is extended to - - - - - - -
16
17        Ix] G.       Other changes in the Purchase Agreement: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
18                 1. BUYER ACCEPTS SELLER'S COUNTER OFFER INCREASING PURCHASE PRICE TO $133,600.
19                 2. BUYER TO PAY MUNICIPAL LIEN SEARCH UP TO $400 {OR WHATEVER ACTUAL COST IS UP TO
20                 =$4..:.;0::...:0:..L.=--------------------------------------
21                 3. BUYER TO PAY $295 CLOSING COORDINATION FEE TO OCEAN TITLE.
22                 4. LOCAL CLOSING AGENT TO COORDINATE AND CLOSE TRANSACTION IS TO BE FIDELITY TITLE CO,
23                 ANGOLA, INDIANA, AT BUYERS EXPENSE.
24
25
26
27
28
29        All other terms and conditions of the Purchase Agreement remain unchanged.

30        By signature below, the parties acknowledge receipt of a signed copy of this Amendment.
      f/OlJ!)df)v ...,/, IX7YZYr0Jl                          03/04/2019
31                                 ~ "<:fl                   20: 09: 00
32 BUYER'S SIGNATURE                                                          DATE                BUYER'S SIGNATURE                                                 DATE


                                                                                                  PRINTED


                                                                                                 SELLER'S SIGNATURE                                                 DATE




                                                                                                                                                          ®   EQUAL MOUSIN?
                                                                                                                                                              OPPORTI,IHRY


 PUMI'ION VINE REALTY, INC,, 217 CR 17, Sulle 4 Elklonrt IN 46516                                                  Phone: 5743331960          Fax:                  ALDRICH
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                                             SHORT SALE ADDENDUM
                                             To the Agreement of Sale

          This is an Addendum to the Agreement of Sale dated 1/4/19                                 by and between
 Martin Seifert, BK Trustee for the estate of Betty Schaefer       ("Seller[s]") and ----"-Jo""'r""'d=an'-'--'-A""'ld=r=ic""'"h_ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ ("Buyer[s]") for the property located at _ _ _ _ _ _ _ _ _ __
     15333 TOWNE GARDENS CT HUNTERTOWN, IN 46748 ("Property"). The terms herein supersedes the
provisions in the Standard Agreement of Sale.

1.    SHORT SALE APPROVAL: This Agreement is contingent upon Seller's receipt of written consent from all
      existing secured lenders and lien holders ("Short-Sale Lenders" or "SSL"), no later than 90 days ("Short-
      Sale Contingency Date"), to reduce their respective loan balances by an amount sufficient to permit the
      proceeds from the sale of the Property to pay the existing balances on loans secured by the Property, real
      property taxes, brokerage commissions, closing costs, and other monetary obligations the Agreement
      requires Seller to pay at Settlement (including, but not limited to, escrow charges, title charges, transfer
      taxes, pro-rations, and repairs) without requiring Seller to place any funds into escrow, with lender/s' waiver
      of any rights to a deficiency. If Seller fails to give Buyer written notice of all existing Short-Sale Lenders'
      consent by the Short-Sale Contingency Date, either Seller or Buyer may cancel the Agreement in writing,
      and Buyer shall be entitled to a return of any deposit. Seller shall reasonably cooperate with existing Short-
      Sale Lenders in the short-sale process and is aware that there may be credit or tax consequences resulting
      from an approved Short-sale. Seller understands that no cash proceeds will be received by Seller from this
      sale unless, and only to the extent, allowed by Seller's lender/s.

2.    TIME PERIODS: Time periods in the Agreement for contingencies, covenants and other obligations shall begin
      the day after Seller delivers to Buyer a written notice of Short-Sale Lenders' consent with the exception of
      inspection contingencies, which must be completed in fifteen (15) days.

3.    NO ASSURANCE: Buyer and Seller understand that Short-Sale Lenders (i) are not obligated to accept a
      short-sale; (ii) may modify dates and time periods specified in the Agreement; and (iii) may accept offers not
      of the Seller's choosing. Buyer & Seller acknowledge that Broker is not responsible for any act, omission, or
      decision by any Short-Sale Lender.

4. BUYER AND SELLER COSTS: Buyer and Seller acknowledge that each may incur costs in connection with
      rights or obligations under the Agreement. These costs may include, but are not limited to, payments for loan
      applications, inspections, appraisals, and other reports. Such costs will be the sole responsibility of the party
      incurring them without regard to the acceptance or rejection of the proposed Short-Sale by the Lender.

5.    INSPECTION REPAIRS: Buyer understands that Property is being sold in its current ("AS-IS") condition;
      and any repair required (including government-required repairs), if any, shall be the responsibility of Buyer.
      Buyer shall be responsible for ordering any required Use and Occupancy inspection. Buyer, at
      Buyer's expense, shall arrange to empty the sewer system (if applicable) and arrange for all utilities
      to be turned on to conduct its Inspection, and to restore the same to its previous condition. If
      property Is in a flood zone, it would be Buyer's responsibility to get the elevation certificate.

6.    OTHER OFFERS: If Buyer's offer is accepted by Seller, Seller may - on its own, or as required by Short-
      Sale Lender -- continue to market the Property despite acceptance of Buyer's offer, and hold other offers
      received as "back up" offers in the event Buyer decides to terminate the Agreement.

7.    CREDIT, LEGAL AND TAX ADVICE: Broker has advised Buyer and Seller to consult with legal and tax
      counsel prior to signing this Addendum relating to a Short-Sale. Broker cannot give legal or tax advice.

        By signing below Buyer and Seller acknowledge that each has read, understand, accept and received a
copy of this Addendum.



Seller                                     Date    Seller                                             Date



Buyer                                      Date    Buyer                                              Date
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                             Trustee Transaction Overview
                                        Property Address:
                 15333 TOWNE GARDENS CT HUNTERTOWN, IN 46748


                                 Seller Name (Trustee Name):
         Trustee Martin Seifert, BK Trustee for the Estate of Betty Schaefer




                            CASE NUMBER:           18-10519
                                LIST PRICE:        $136,000
                              OFFER PRICE:         $130,000
           PROPOSED BANKRUPTCY ESTATE FEE:         $3,900 to $6,500
                               {3%) to {5%)




Bankruptcy Estate Fees are determined by Banks/Servicers/lnvestor guidelines based on a case by case
situation and the range of 3% & 5% of sales price meets most guidelines. We typically ask for 5% and
negotiate where necessary.
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                                     ~K lobal®
     Purchase & Sale of Real Property Contract Addendum
                        15333 TOWNE GARDENS CT HUNTERTOWN, IN 46748

                                      Property Address


1.    Buyer acknowledges that this property is subject to Short Sale Lender or Servicer Approval as
      applicable and Bankruptcy Court Approval of the sale or transfer of the subject property.

2.   The Bankruptcy Estate Fee is to be paid from the Sellers proceeds or as a buyer's premium and
     said Fee shall be made payable to the Bankruptcy Estate.

3.   Buyer acknowledges that the property Is sold 11 AS IS 11 • Absolutely no repairs will be authorized.
     Seller is unable to remove any debris or personal property left on the Property nor warrants that
     any appliances or other personal property will be left on the Property or transferred as part of this
     transaction.

4.   Seller shall make no concessions and can pay no closing costs to, for or on behalf of the buyer.

5.   The parties agree that the ESCROW AGENT for this transaction is:


                   ls_in_g_le_S_o_ur_c_e_ _ _ _ _ _ _ _ _ _ __
      ESCROW AGENT ....

              ADDRESS           I1000 Noble Energy Drive Suite 300
      CITY, STATE, ZIP          lcanonsburg, PA 15317

                  PHONE         1866-620-7577

                   EMAIL        lcporto@singlesourceproperty.com


     The initial earnest money deposit in the amount of 1% of the purchase price is due to escrow agent within 48
     hours of seller's acceptance of the contract. The second (2nd) earnest money deposit in the amount of 9%
     of the purchase price for cash transactions (total earnest money deposits equal 10% for cash
     transactions) or 4% of the purchase price for financed transactions (total earnest money deposits equal
     5% for financed transactions) are due to escrow agent within 72 hours of the issuance of the short sale
     approval letter by the short sale lender or servicer. All earnest money deposits are to be deposited with
     escrow agent in the form of a cashier's check or bank wire.
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  6.    The CLOSING AND TITLE AGENT for this transaction shall be:

        CLOSING AND TITLE AGENT .....
                                ls_in_g_le_S_o_ur_c_e_ _ _ _ _ _ _ _ _ ____,

                                                I
                                ADDRESS 1000 Noble Energy Drive Suite 300

                       CITY, STATE, ZIP (canonsburg, PA 15317

                                    PHONE 1866-620-7577

                                     EMAIL jcporto@singlesourceproperty.com


        Closing and Title Agent duties shall include, but are not limited to: drafting estimated settlement
        statements upon execution of contract and as requested or required by the short sale lender or
        servicer in order to obtain the short sale approval(s) for the subject transaction (including all seller
        side fees and pro-rations), working with BK Global in regard to obtaining said short sale
        approval(s) and to clear any and all liens that may encumber the property or title to the subject
        property (if any), and coordinating the closing of this transaction with the real estate agents or
        brokers as applicable and the parties to the transaction including the Trustee for the selling
        Bankruptcy Estate.

  7.    The Seller in this transaction is exempt from providing the Homeowner's Association documents
        to Buyer as this is a court-ordered sale transaction. Buyer will be solely responsible for any
        application, transfer, capital contributions and initial membership fees charged by or due to any
        Association(s) or Management Company. Buyer is aware it may take up to 1O days to receive a
        response from the Federal Bankruptcy Trustee (Seller).

  8.    If the applicable Short Sale Approval(s) is/are not issued within 120 days after the Seller's
        contract acceptance date, Buyer may cancel the Residential Purchase Agreement for any reason
        without penalty.

  9.    Buyer agrees to close this transaction within 45 days of issuance of the short sale approval and
        agrees to close pursuant to the terms included in the Order entered by the Bankruptcy Court
        approving the sale transaction and pursuant to the instructions of the Federal Bankruptcy Trustee.

  10.   Buyer shall be responsible for connecting any utilities necessary to perform inspections requested
        and any related costs as part of any due diligence period or inspection. Buyer shall use this
        period to satisfy themselves of all mechanical, structural and/or functional related concerns
        regarding the property. Buyer shall have the same amount of time to obtain, review, and satisfy
        themselves of any association rules, regulations, requirements and/or fees, if applicable. Seller
        will not pay any upfront expenses related to plowing the road for access to the property. Should
        the Buyer require the septic system be pumped and inspected, that shall be done at the buyer's
        expense. Buyer shall release the inspection contingency within ten (1 O) days of seller's
        acceptance of the Purchase and Sale Contract.

· 11.   Any lssues·regarding permitting or open or expired permits will be tlie responsibility of the buyer
        and clearance or closure of the same will not be part of the contract and will not be a requirement
        of closing.




                                                                                                                   flc/4
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12.      Buyer acknowledges that the seller may not have access to garage remotes, mailbox keys or
         access related keys to the property. Seller will tender any items available at the close of escrow
         but shall not be liable to provide items not in his/her possession.

13.      Buyer shall immediately disclose if he/she is related to the debtor or seller. Buyer understands
         that most lenders and/or servicers or investors require an Arm's Length Disclosure to be signed
         by the parties as a condition of the short sale approval, and some lenders and/or servicers or i
         investors will not allow a family member or relative to purchase a property in which a debtor or
         seller related to the buyer has or may have interest.

14.      Should buyer be representing self as an agent, buyer understands that some lenders and/or
         servicers or Investors will not allow buyer(s) to receive any funds from the sale of the property,
         including commissions.

15.      Offers in the name of a corporation, trust, LLC or partnership will need to show proof of all entity
         owners and shall provide a copy of the articles of organization (and operating agreement when
         applicable) which must provide for who is authorized to sign on behalf of the entity. Buyer
         understands and acknowledges that once Addendum is executed, the name of the buyer cannot
         be changed for title, closing or any other purpose due to the Short Sale Approval(s).

16.      Seller will not pay for an Appraisal or Home Warranty.

17.      Buyer understands and agrees that this addendum shall prevail and take precedence where any
         terms included herein conflict with the original Purchase Agreement.


     floi DATED this 3rd day of JANUARY, 201           g

Trustee
                                                                                                      \!Nil   01/03/2019 01 :46 PM
                                                                                                      '-,~J
~~dn-?Je.e
Si
 ture                                                               Signature
                                                                                                              EST




                                                                    JORDAN ALDRICH

                                                                    Print Name




                                                                    Buyer



                                                                    Signature



                                                                    Print Name
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  (fj~:\                       A.    Settlement Statement (HUD-1)
   i.,,9~~. .   ot·;\,..,,I                                                                                                                                                                                             0MB No. 2502-0265
  B. Tvpe of Loan
  1.    •           FHA 2.           •   RHS      3,    •   Conv. Unins.
                                                                                    6. File Number                                           17. Loan Number                                   I8. Mortgage Insurance Case Number
 4.     •           VA          5.   D   Conv. Ins.
                                                                                                     190187925-52

 C. Note:                     This form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown.
                              Items marked "(p.o.c)" were paid outside the closing; they are shown here for informational purposes and are not included in the totals.
 D. Name and Address of Borrower                                                    E. Name and Address of Seller                                                          F. Name and Address of Lender

       Jordan Aldrich                                                                   Ma11in E. Sei fe11, as Trnstee for the
       210 N 050 W                                                                      Bankrnptcy Estate of Betty Jo Schaefer
       Lagrange, IN 46761




 G. Property Location                                                               H. Settlement Agent                            866-620-7577                            Place of Settlement

       15333 Towne Gardens Ct                                                          SingleSource Property Solutions, LL
       Huntertown, IN 46748                                                            SingleSource Property Solutions, LLC
                                                                                       I 000 Noble Energy Drive
                                                                                       Suite 300
                                                                                       Canonsburg, PA 15317                                                                I. Settlement Date                            06/17/19
                                                                                                                                                                              Disbursement Date                          06/17/19
 J. Summary of Borrower's Transaction                                                                                           K. Summary of Seller's Transaction
 100. Gross Amount Due from Borrower                                                                                            400, Gross Amount Due to Seller
 101. Contract sales price                                                                                133,600.00            401. Contract sales price                                                                              133,600.00
 102. Personal property                                                                                                         402. Personal property
 103. Settlement charges to borrower (line 1400)                                                              1,588.76          403.
 104.                                                                                                                           404.
 105.                                                                                                                           405.
                Adjustments for items paid by seller In advance                                                                        Adjustments for items paid by seller in advance
 106. City/town taxes                                  to                                                                       406. City/town taxes                            to
 107. County taxes                                     to                                                                       407. County taxes                               to
 108. Assessments                                      to                                                                       408. Assessments                                to
 109.                                                                                                                           409.
 110.                                                                                                                           410.
 111.                                                                                                                           411.
 112.                                                                                                                           412.

 120. Gross Amount Due from Borrower                                                                      135,188.76            420. Gross Amount Due to Seller                                                                       133,600.00
 200. Amounts Paid By Or In Behalf Of Borrower                                                                                  500, Reductions In Amount Due To Seller
 201. Deposit or earnest money                                                                                1,300.00          501. Excess deposit (see instructions)
 202. Principal amount of new loan(s)                                                                                           502. Settlement charges to seller (line 1400)                                                            16,816.00
 203. Existing loan(s) taken subject to                                                                                         503. Existing loan(s) taken subject to
 204.                                                                                                                           504. Payoff of first mortgage loan                                                                     I I 5,050.74
                                                                                                                                     First Mo11gage
 205.                                                                                                                           505. Payoff of second mortgage loan
                                                                                                                                     Second Mortgage
 206.                                                                                                                           506. Payoff Above and Beyond Community Mgmt, Inc                                                             500.10
 207.                                                                                                                           507.
 208.                                                                                                                           508.
 209.                                                                                                                           509.
            Adjustments for items unpaid by seller                                                                                     Adjustments for items unpaid by seller
 210. City/town taxes                              to                                                                          510. City/town taxes                             to
 211. County taxes                        07/01/18 to 06/17/19                                                1,233.16         511. County taxes                 07/0 I /18 to06/I 7/ I 9                                                 1,233.16
 212. Assessments                                  to                                                                          512. Assessments                                 to
 213.                                                                                                                          513.
 214.                                                                                                                          514.
 215.                                                                                                                          515.
 216.                                                                                                                          516.
 217.                                                                                                                          517.
 218.                                                                                                                          518.
 219.                                                                                                                          519.

 220, Total Paid by/for Borrower                                                                             2,533.16 520. Total Reduction Amount Due Seller                                                                          133,600,00
 300, Cash At Settlement from/to Borrower                                                                                      600, Cash At Settlement to/from Seller
 301. Gross amount due from borrower (line 120)                                                          135,188.76 601, Gross amount due to seller (line 420)                                                                        133,600.00
 302, Less amounts paid by/for borrower (line 220)                                            (            2,533.16) 602. Less reductions in amount due seller (line 520)                                                 (           133,600.00)

 303.Cash                            [:8:1 From             D   To Borrower                              132,655.60            603. Cash                 0      To               D     From Seller                                               0.00

       The Public Reporting Burden for thl• colectJon of Information Is Htlmated at 35 m!nutos per rell)Onsa ror coUec~ng, revleWng, and reporting the data, This agency may not colect this fnrorrnatlon, and you are not required to complete th!•
       form, unless 11 dl1pl1y1 • currently va~d 0MB control numb1r. Uo conndenlidty 11111ured; lhf1 dllClo&Ure 11 mandatory, Thlt 11 dn!gned to pro~kl• the p1rtle1 to a RESPAcovertd transaction Y,\\h lnformatlDn during the 11\llemenl prixen.
 POC-B, Paid out of Closing by Buyer POC-S, Paid out of Closing by Seller




Previous editions are obsolete                                                                                       Page 1 of3                                                                                                                   HUD-1




                                                                                                                                                                                                                    Exhibit B
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 L. Settlement Charges
 700, Total Real Estate Broker Fees                                                                     $5,344.00             Paid From     Paid From
         Division of Commission (line 700) as follows:                                                                        Borrower's      Seller's
 701. $2,672.00                                to Coldwell Banker Roth Wehrly                                                  Funds At      Funds Al
 702. $2,672.00                                to Pumpkin Vine Realty, Inc                                                    Settlement    Settlement
 703. Commission paid at Settlement                                                                                                            5,344.00
 704. Commission paid al Settlement to BKG                                                                                                     2,672.00
 800. Items Payable In Connection With Loan
 801. Our origination charge                                                                       $          (from GFE #1)
 802. Your credit or charge (points) for the specific interest rate chosen                         $          (from GFE #2)
 803. Your adjusted origination charges                                                                       (from GFE #A)
 804. Appraisal fee to                                                                 (from GFE #3)
 805. Credit Report to                                                                 (from GFE #3)
 806. Tax service to                                                                   (from GFE #3)
 807. Flood certification                                                              (from GFE #3)
 808.
 809.
 810.
 811.
 812.
 813.
 814.
 900. Items Required By Lender To Be Paid In Advance
 901. Daily interest charges from to @ $/day                                           (from GFE #10)
 902. Mortgage insurance premium for months to                                         (from GFE #3)
 903. Homeowner's insurance for years to                                               (from GFE #11)
 904.
 905.
 1000. Reserves Deposited With Lender
 1001. Initial deposit for your escrow account                                         (from GFE #9)
 1002. Homeowner's Insurance              months@$                         per month       $
 1003. Mortgage insurance                     months@$                     per month       $
 1004. Property taxes                         months@$                     per month       $
 1005.                                        months@$                     per month       $
 1006.                                        months@$                     per month       $
 1007.                                        months@$                     per month       $
 1008. Aggregate escrow adjustment                                                         $
 1100, Title Charges
 1101. Title services and lender's title insurance                                     (from GFE #4)                                 0.00
 1102. Settlement or closing fee to SingleSource Property Soluti .. $                                                              450.00        900.00
 1103. Owner's title insurance to SingleSource Prope1tv Solutions LLC                  (from GFE #5)                               313.76
 1104. Lender's title insurance to SingleSource Prope11)' Solutia ... $
 1105. Lender's title policy limit          $
 1106. Owner's title policy limit           $133,600.00
 1107. Agent's portion of the total title insurance premium                                    $
 1108. Underwriter's portion of the total title insurance premium                              $
 1109. Courier Fee to SingleSource ProDertv Solutions LLC                                                                           25.00         25.00
 1110. Search Fee to SingleSource Property Solutions LLC                                                                                         250.00
 1111. Wire Fee to SingleSource ProDerty Solutions LLC                                                                              10.00
 1112. TIEF Policy Fee to Chicago Title                                                                                              5.00
 1113. Closinn Protection Letter to Chicano Title                                                                                   50.00         25.00
 1200. Government Recording and Transfer Charges
 1201. Government recording charges                                                    (from GFE #7)                                25.00
 1202. Deed $25.00               Mortgage$     Release$
 1203. Transfer taxes                                                                  (from GFE#8)                                 15.00
 1204. City/county tax/stamps:          Deed $5.00           Mortgage$
 1205. State tax/stamps:                Deed $10.00          Mortgage$
 1206.
 1207.                                                                $
 1208.                                                                $
 1300. Additional Settlement Charges
 1301. Required services that you can shop for                                         (from GFE #6)
 1302. Trustee Liability Insurance to Ma11in E. Seifert, as Trnste ... $
 1303. Record Motion to Sell Order to Countv Recorder                  $                                                                         100.00
 1304. Closine Coordination to Ocean Title, LLC                                                                                   295.00
 1305. Municionl Lien Search est. to Martin E. Seifert, as Trnstee for the Banknmtcv Estate of Be                                 400.00
 1306. Bankruotcv Estate Fee to Martin E. Seife11, as Trustee for the Bankruptcy Estate ofBe                                                   7,500.00
 1307.
 1308.
 1309.
 1310.
 1400, Total Settlement Charges (enter on lines 103, Section J and 502, Section K)                                               1 588.76     16 816.00
 POC-B, Paid out of Closing by Buyer POC-S, Paid out of Closing by Seller




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                                                                                                                                                        Addendum to Settlement Statement

This page is attached to and made pai1 of the Settlement Statement in the matter described on Page I of the Settlement Statement.

I have carefully reviewed this Settlement Statement and to the best of my knowledge and belief, it is a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction. I further certify that I have received a copy of the Settlement Statement.

Borrower(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 06/17/l9Seller(s)                                                            - - - - - - - - - - - - - - - - 06/17/19
            Jordan Aldrich                                                                                                Mm1in E. Seife11, as Trustee for the Bankruptcy Estate of
                                                                                                                          Betty Jo Schaefer
The Settlement Statement which I have prepared is a true and accurate account of funds received and funds disbursed or to be disbursed for this
transaction.

                                            06/17/19 - - - - - - - - - - - - - - - - SingleSource Prope11y Solutions, LL, Settlement Agent




WARNING; It Is a crime to knowingly make false statements to the United States on this form. Penalties upon conviction can Include a fine and Imprisonment. For details see: TIiie 18 U.S. Code Section 1001
and Section 1010.
Paid outside of closing by B•borrower s•seUar K'Broker R•branch o•other
